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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
YOTAM MAROM AND MIRIAM ROCEK,

                          Plaintiffs,                                 15 CV 2017 (PKC)(SN)
        -against-                                                     PLAINTIFF’S PROPOSED
                                                                      JURY INSTRUCTIONS
NYPD SERGEANT FIOR BLANCO, NYPD LEGAL
BUREAU LIEUTENANT DANIEL ALBANO,
NYPD LEGAL BUREAU DETECTIVE KENNETH
O’DONNELL, NYPD OFFICER MICHAEL
GALGANO, SHIELD NO. 2671, NYPD OFFICER
CYNTHIA BOYLE, SHIELD 06663,

                                   Defendants.

------------------------------------------------------------------X




                       PLAINTIFF’S PROPOSED JURY INSTRUCTIONS



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                        GENERAL INTRODUCTORY CHARGES1

       Introductory Remarks

       Members of the jury, you have now heard all of the evidence in the case as well as

the final arguments of the parties. We have reached the point where you are about to

undertake your final function as jurors. You have paid careful attention to the evidence,

and I am confident that you will act together with fairness and impartiality to reach a just

verdict in the case.


       Role of the Court


1
 With the exception of the substantive charge on Ms. Rocek’s fair trial rights claims,
which is annotated with references to this Court’s prior opinions in this case, as well
as other authority, and the nominal damages charge, which is omitted for the reasons
set forth below, these charges are based on this Court’s charges in Phoenix Feeley v.
Michael Jurena, 15 Civ. 8349 (PKC), with proposed substantive modifications at pp.
13-20 (not highlighted) and elsewhere identified in green highlighting. The most
significant proposed change to the Feeley charges is the proposed fair trial rights
claim-based substantive instruction at pp. 13-20 below, which would take the place of
the instructions on the substantive claims that were at issue in Feeley. The Feeley
charges are attached hereto for ease of comparison.

Plaintiff respectfully submits that a nominal damages charge is inappropriate and has
therefore omitted that proposed charge. If plaintiff does not prove she suffered a
liberty deprivation proximately caused by the defendants’ forwarding materially false
information to prosecutors, then there is no need for such a charge, because the jury
will never reach damages. And if plaintiff does prove that she suffered a loss of
liberty, nominal damages are not proper. See, e.g., Kerman v. City of N.Y., 374 F.3d
93, 124 (2d Cir. 2004) (“where the jury has found a constitutional violation and there
is no genuine dispute that the violation resulted in some injury to the plaintiff, the
plaintiff is entitled to an award of compensatory damages as a matter of law”) (citing
cases); Vilkhu v. City of New York, 06-cv-2095(CPS)(JO), 2009 WL 537495, 2009
U.S. Dist. LEXIS 16616 (E.D.N.Y. Mar. 3 2009).

Plaintiff respectfully reserves the right to include additional substantive jury charges,
or to propose changes to these proposed charges, at the time of trial based on the
course of the proceedings.


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       It has been my duty to preside over the trial and to decide what testimony and

evidence was relevant, under the law, for you to consider. My duty at this point is to

instruct you as to the law. It is your duty to accept these instructions of law and to apply

them to the facts as you determine them.

       On these legal matters, you must take the law as I give it to you. If any attorney has

stated a legal principle different from any that I state to you in my instructions, it is my

instructions that you must follow. You must not substitute your own ideas of what the law

is or ought to be.

       You are not to infer from any of my questions or rulings or anything else I have said

or done during this trial that I have any view as to the credibility of the witnesses or how

you should decide the case.

        I will give you the typed text of these instructions for your use in the Jury room. It

is possible that there is a slight variance between the words I have spoken and the typed

text that I will give you. The words I have spoken control over the typed text.


       Role of the Jury

       As members of the jury, you are the sole and exclusive judges of the facts. You pass

upon the evidence. You determine the credibility of the witnesses. You resolve such

conflicts as there may be in the testimony. You draw whatever reasonable inferences you

decide to draw from the facts as you have determined them. You determine the weight of

the evidence.

       You have taken the oath as jurors and it is your sworn duty to determine the facts

and to follow the law as I give it to you.




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       Conduct of Counsel

       It is the duty of the attorneys to object when the other side offers testimony or other

evidence that the attorney believes is not properly admissible. Therefore, you should draw

no inference from the fact that an attorney objected to any evidence. Nor should you draw

any inference from the fact that I sustained or overruled an objection.

       From time to time, the lawyers and I had sidebar conferences and other conferences

out of your hearing. These conferences involved procedural and other matters, and none of

the events relating to these conferences should enter into your deliberations at all.


       Sympathy or Bias

       Your verdict must be based solely upon the evidence developed at trial or the lack

of evidence. It would be improper for you to consider any personal feelings you may have

about a party's race, religion, national origin, sex, or age.

       The parties in this case are entitled to a trial free from prejudice, and our judicial

system cannot work unless you reach your verdict through a fair and impartial

consideration of the evidence.

       Similarly, under your oath as jurors, you are not to be swayed by sympathy. Once

you let fear, prejudice, bias, or sympathy interfere with your thinking, there is a risk that

you will not arrive at a just and true verdict. Your verdict must be based exclusively upon

the evidence or the lack of evidence in the case.


       All Persons Equal Before the Law

        This case should be decided by you as an action between parties of equal standing

in the community, of equal worth, and holding the same or similar stations in life. The

defendant is not to be favored or disfavored because he is an employee of the New York

City Police Department, nor is the plaintiff to be favored or disfavored because of her



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status. All parties are entitled to the same fair trial at your hands. They stand equal before

the law and are to be dealt with as equals in this court.


         Burden of Proof

         In a civil case such as this, the party with the burden of proof must prove all the

elements of the claim or defense by a preponderance of the evidence.

         What does a "preponderance of the evidence" mean? To establish a fact by a

preponderance of the evidence means to prove that the fact is more likely true than not. A

preponderance of the evidence means the greater weight of the evidence. It refers to the

quality and persuasiveness of the evidence, not the number of witnesses or documents. In

determining whether a claim has been proven by a preponderance of the evidence, you may

consider the relevant testimony of all witnesses, regardless of who may have called them,

and all the relevant exhibits received in evidence, regardless of who may have produced

them.

         If, after considering all of the testimony, you are satisfied that the side bearing the

burden of proof has carried the burden on each essential point as to which it has the burden

of proof, then you must find in that side's favor on that issue. If after such consideration

you find that the credible evidence on a given issue is evenly divided between the parties-

that it is as equally probable that one side is right as it is that the other side is right-or that

the evidence produced by one party is outweighed by evidence against his or her claim,

then you must decide that issue against that party. That is because the side bearing the

burden of proof must prove more than simple equality of evidence-that side must prove

each element of the claim by a preponderance of the evidence. On the other hand, the party

with this burden of proof need prove no more than a preponderance. So long as you find

that the scales tip, however slightly, in favor of the party bearing the burden of proof--that




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what he or she claims is more likely true than not-then the element will have been proven

by a preponderance of evidence.


       What Is and Is Not Evidence

       The evidence in this case is the sworn testimony of the witnesses, the exhibits

received into evidence, and the stipulations made by the parties. You may also consider

prior inconsistent testimony of a witness given under oath at a deposition as evidence.

       By contrast, the questions of a lawyer are not evidence. It is the witnesses' answers

that are evidence, not the questions.

       Testimony that has been stricken or excluded by me is not evidence and may not be

considered by you in rendering your verdict. If I have instructed you that evidence is

received for only a limited purpose, then it may be considered only for that limited

purpose.

       Arguments by lawyers are not evidence because the lawyers are not witnesses.

What the lawyers have said to you in their opening statements and in their summations is

intended to help you understand the evidence. If, however, your recollection of the facts

differs from the lawyers' statements, it is your recollection that controls.

       Any statements that I may have made during the trial do not constitute evidence.

       To constitute evidence, exhibits must first be admitted or received in evidence.

Exhibits marked for identification but not admitted are not evidence, nor are materials

brought forth only to refresh a witness's recollection.

       It is for you alone to decide the weight, if any, to be given to the testimony you have

heard and the exhibits you have seen.




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       Direct and Circumstantial Evidence

       Generally, there are two types of evidence that you may consider in reaching your

verdict.

       One type is direct evidence. Direct evidence is when a witness testifies about

something he or she knows by virtue of his or her own senses- something he or she has

seen, felt, touched, or heard.

       Circumstantial evidence is evidence from which you may infer the existence of

certain facts. Let me give you an example to help you understand what is meant by

circumstantial evidence.

       Assume that when you came into the courthouse this morning the sun was shining

and it was a nice day. Assume further that the courtroom windows were covered and you

could not look outside. As you were sitting here, assume that someone walked in with an

umbrella, which was dripping wet. Then, a few minutes later, another person entered with a

wet raincoat. Now, you cannot look outside of the courtroom and you cannot see whether

or not it is raining. So you have no direct evidence of that fact. But, on the combination of

facts that I have asked you to assume, it would be reasonable and logical for you to

conclude that it had been raining.

       That is all there is to circumstantial evidence. You infer, on the basis of reason and

experience and common sense from one established fact, the existence or non-existence of

some other fact.

       Circumstantial evidence is of no less value than direct evidence. As a general rule,

the law makes no distinction between direct evidence and circumstantial evidence. It

simply requires that your verdict must be based on all the evidence presented.




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       Not All Evidence Is Introduced

        The law does not require any party to call as witnesses all persons who may have

been present at any time or place involved in the case or who may appear to have some

knowledge of the matters in issue at the trial. Nor does the law require any party to produce

as exhibits all papers and things mentioned in the evidence in the case. I instruct you that

you are not to speculate as to why any of the parties did not call certain witnesses or

produce certain exhibits.


       Witness Credibility

       You have had the opportunity to observe all of the witnesses. It is now your job to

decide how believable each witness was in his or her testimony. You are the sole judges of

the credibility of each witness and of the importance of his or her testimony.

       You should carefully scrutinize all of the testimony of each witness, the

circumstances under which each witness testified, the impression the witness made when

testifying, and any other matter in evidence that may help you decide the truth and the

importance of each witness's testimony.

       In other words, in assessing credibility, you may size a witness up in light of his or

her demeanor, the explanations given, and all of the other evidence in the case. In making

your credibility determinations, use your common sense, your good judgment, and your

everyday experiences in life.

       If you believe that a witness knowingly testified falsely concerning any important

matter, whether at trial or in a prior proceeding, you may distrust the witness's testimony

concerning other matters. You may reject all of the testimony or you may accept such parts

of the testimony that you believe are true and give it such weight as you think it deserves.




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       Prior Inconsistent Statements

       You have heard evidence that, at some earlier time, witnesses have said or done

something that counsel argues is inconsistent with their trial testimony.

       Evidence of a prior inconsistent statement was placed before you for the purpose of

helping you decide whether to believe the trial testimony of a witness who may have

contradicted a prior statement. If you find that the witness made an earlier statement that

conflicts with the witness's trial testimony, you may consider that fact in deciding how

much of the witness's trial testimony, if any, to believe.

       In making this determination, you may consider whether the witness purposely

made a false statement or whether it was an innocent mistake; whether the inconsistency

concerns an important fact, or whether it had to do with a small detail; whether the witness

had an explanation for the inconsistency, and whether that explanation appealed to your

common sense.

       It is exclusively your duty, based upon all the evidence and your own good

judgment, to determine whether the prior statement was inconsistent, and if so, how much,

if any, weight to give to the inconsistent statement in determining whether to believe all,

or part of, the witness's testimony.

       Certain prior testimony was presented in the examination of witnesses as a prior

inconsistent statement given under oath at a deposition. This deposition testimony is

evidence and may be considered by you.


       Bias of Witnesses

       In deciding whether to believe a witness, you may take account of the fact that a

witness is a party to the lawsuit. You may also take into consideration any evidence of

hostility or affection that the witnesses may have towards one of the parties. Likewise,




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you should consider evidence of any other interest or motive that the witness may have

in cooperating with a particular party. You should also take into account any evidence

that a witness or party may benefit in some way from the outcome of the case.

       It is your duty to consider whether the witness has permitted any bias or interest

to color his or her testimony. In short, if you find that a witness is biased, you should

view his or her testimony with caution, weigh it with care, and subject it to close and

searching scrutiny.

       Of course, the mere fact that a witness is interested in the outcome of the case

does not mean he or she has not told the truth. It is for you to decide from your

observations and applying your common sense and experience and all the other

considerations mentioned whether the possible interest of any witness or of any party has

intentionally or otherwise colored or distorted his or her testimony. You are not required to

disbelieve an interested witness. You may accept as much of his or her testimony as you

deem reliable and reject as much as you deem unworthy of acceptance.

       You have heard the testimony of law enforcement officials. The fact that a witness

may be employed by the federal, state, or local government as a law enforcement official

does not mean that his or her testimony is necessarily deserving of more or less

consideration or greater or lesser weight than that of an ordinary witness. It is your

decision, after reviewing all the evidence, whether to accept the testimony of the law

enforcement witnesses, and to give that testimony whatever weight, if any, you find it

deserves.


       Redaction of Evidence

       Among the exhibits in evidence, some documents are redacted. "Redacted" means

that part of the document was covered. You are to concern yourself only with the part of




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the item that has been admitted into evidence. You should not consider any possible reason

why the other part of it has been covered.


        Stipulations

        In this case you have heard evidence in the form of stipulations of fact. A stipulation

of fact is an agreement between the parties that a certain fact is true. You must regard

such agreed-upon facts as true. The weight or importance of the fact is a matter for

you, the jury, to decide.


        Ignore External Sources of Information

        I instruct you that anything you may have seen or heard about this case outside

the courtroom is not evidence and must be disregarded. Indeed, as I have instructed

you throughout this case, you may not read, view, or listen to any media or press report

or internet or social media posting about this case or about the people, companies, or

issues referred to during this trial. Your verdict must be based solely on the evidence or

lack of evidence that came out in this Courtroom and the Court's instructions on the

law.


                               THE SUBSTANTIVE CLAIMS

        With these instructions in mind, let us turn to the substantive law to be applied to

this case.


         Plaintiff’s “fair trial rights” claims

        The plaintiff, Miriam Rocek, claims that she was deprived of her so-called “fair

trial rights” rights protected under the Fifth, Sixth, and/or Fourteenth Amendments to

the United States Constitution to be free from being deprived of life, liberty, or




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property as the result of Defendants’ having forwarded fabricated information to

prosecutors. Defendants deny plaintiff’s claims.

         There are three essential elements that plaintiff must prove by a preponderance

of the evidence against a defendant in order for that defendant to be found liable:

         First, Ms. Rocek must prove that the acts complained of were committed by the

defendant while they were acting under color of state law;

         Second, Ms. Rocek must prove that the defendant acted intentionally or recklessly

and that those acts deprived her of rights, privileges, or immunities secured by the

Constitution or laws of the United States; and

         Third, Ms. Rocek must prove that the defendant’s acts were the proximate cause of

injuries she sustained.

         I will now examine each of the three elements.

       A. First Element: "Under Color of State Law"

         Whether a particular defendant committed an act is a question of fact for you, the

jury, to decide. Assuming that the defendant did commit those acts, I instruct you that

because they purported to be acting in their capacity as a member of the New York City

Police Department at the time of the acts in question, they were acting under color of state

law.

         Therefore, if the defendant committed the acts alleged, the first element of Ms.

Rocek’s claims is satisfied, and you need not deliberate upon it.


       B. Second Element: "Deprivation of Constitutional Right"

         The second element of the plaintiff’s claims is that each defendant committed acts,

intentionally or recklessly, that deprived the plaintiff of a federal constitutional right. In

order for the plaintiff to establish this second element, she must show that those acts that




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you have found the defendant took under color of state law caused her to suffer the loss of

a federal right and that in performing those acts, the defendant acted intentionally or

recklessly.


                 1.     Deprivation of a Constitutional Right

                   Ms. Rocek has alleged that the defendants deprived her of her so-

called “fair trial rights” protected under the Fifth, Sixth, and/or Fourteenth

Amendments to the United States Constitution to be free from being deprived of life,

liberty, or property as a result of the defendants’ having forwarded fabricated

information to prosecutors.


                 2.     Intentional or Reckless Action

          To prove the second essential element of her claims against a defendant, Ms. Rocek

must not only show that the defendant’s acts deprived her of a right but also that they

committed those acts intentionally or recklessly. To prove this part of her claims against a

defendant, Ms. Rocek need not show malice or ill will or that the defendant intended to

violate her constitutional rights or otherwise2 cause injury to Ms. Rocek. Nor need she

prove that the defendant was reckless in believing that no injury to Ms. Rocek would result.

Rather, she must prove that the defendant intentionally or recklessly committed an act or

acts that deprived Ms. Rocek of a constitutional right.

         An act is intentional if it is done voluntarily and deliberately and not because of

mistake, accident, negligence or other innocent reason. Please note that intent can be

proved directly or it can be proved by reasonable inference from circumstantial evidence.




2
    See Hudson v. New York City, 271 F.3d 62, 68-69 (2d Cir. 2001).



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       An act is reckless if it is done in conscious disregard of its known probable

consequences. Stated another way, even if the defendant did not act intentionally, if the

defendant nevertheless purposely disregarded the high probability of the consequences of

his actions, then the second essential element would be satisfied. But if you find that

defendant’s actions were merely negligent, then, even if you find that Ms. Rocek was

injured as a result of those acts, you must return a verdict for that defendant.


    C. Third Element: "Proximate Cause"

        The third element plaintiff must prove for each of her claims is that the defendant's

acts were a proximate cause of injuries she sustained. An act is a proximate cause of an

injury if the act was a substantial factor in bringing about that injury and if an injury was a

reasonably foreseeable consequence of the defendant's act. In other words, if the

defendant’s acts or omissions had such an effect in producing the injury that reasonable

persons would regard it as being a cause of the injury, then the act or omission is a

proximate cause.

       A proximate cause need not always be the nearest cause either in time or in

space. In addition, there may be more than one proximate cause of an injury. Many

factors or the conduct of two or more people may operate at the same time, either

independently or together, to cause an injury. The defendant is not liable if Ms.

Rocek’s injury was caused by a new or independent source that intervenes between the

acts or omissions of the defendant and the injury and that produces a result that was not

reasonably foreseeable by the defendant.


    D. The Claimed Constitutional Violations

       Ms. Rocek claims that defendants were each involved in, or failed to intervene to

prevent, defendant Boyle’s forwarding false information in the form of oral statements,



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statements in police reports, and sworn statements in a criminal charging document,

purporting to record defendant Boyle’s alleged observations of and interactions with Ms.

Rocek before she was arrested and in the process of her arrest. Ms. Rocek claims the

statements were false because defendant Boyle did not observe Ms. Rocek before she was

arrested, or arrest her.

       Ms. Rocek claims that, as a result of the defendants’ forwarding false statements to

prosecutors, she suffered deprivations of liberty, including in the form of being detained for

22 hours post-arrest, being formally arraigned and charged with criminal violations, being

released on her own recognizance subject to New York Criminal Procedure Law § 510.40,

being required to appear in court five times, and having criminal charges pending against

her for over a year, as well as related reputational harm and emotional distress.


               3.          “Personal Involvement” and “Failure to Intervene”

       To prevail on her fabrication of evidence claim against an individual defendant, Ms.

Rocek must prove by a preponderance of the evidence that the defendant was "personal[ly]

involve[d] . . . in [the] alleged constitutional deprivation[]."3

       “A defendant is ‘personally involved’ if, for example, [they] directly participate[] in

the constitutional deprivation.”4

       “A supervisor can be personally liable if they ‘participated directly in the alleged

constitutional violation.’”5




3
  Marom v Blanco, No. 15-cv-2017 (PKC), 2019 US Dist LEXIS 124343, at *18
(SDNY July 25, 2019), citing Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995)
(quoting Wright v. Smith, 21 F.3d 496, 501 (2d Cir. 1994)).
4
  Marom v Blanco at *18, citing Williams v. Smith, 781 F.2d 319, 323 (2d Cir. 1986).
5 Marom v City of NY, No. 15-cv-2017 (PKC), 2016 US Dist LEXIS 140720, at *9

(SDNY July 29, 2016), quoting Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995).


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        “‘[O]rdering or helping others to do the unlawful acts, rather than doing them

[oneself],’ can constitute ‘direct participation.’”6

        Additionally, “‘[a]ll law enforcement officials have an affirmative duty to intervene

to protect the constitution rights of citizens from infringement by other law enforcement

officers in their presence.’”7

        Thus, “[a] defendant is also considered ‘personally involved’ if he or she fails to

intervene despite having a realistic opportunity to prevent the constitutional violation from

occurring.”8

        “‘An officer who fails to intercede is liable for the preventable harm caused by the

actions of the other officers where that officer observes or has reason to know: . . . that any

constitutional violation has been committed by a law enforcement official [ ].’”9


                4.      Elements of Ms. Rocek’s Fabrication of Evidence Claims

        To prevail on her so-called “fabrication of evidence” claim against a defendant, Ms.

Rocek must show by a preponderance of the evidence that: “‘(1) [an] investigating official

(2) fabricate[d] information (3) that [was] likely to influence a jury's verdict, (4)

forward[ed] that information to prosecutors, and (5) the plaintiff suffer[ed] a deprivation of

life, liberty, or property as a result.’”10


6
   Marom v City of NY, 2016 US Dist LEXIS 140720, at *9, quoting Provost v. City of
Newburgh, 262 F.3d 146, 155 (2d Cir. 2001).
7 Marom v City of NY, 2016 US Dist LEXIS 140720, at *11, quoting Anderson v.

Branen, 17 F.3d 552, 557 (2d Cir. 1994).
8 Marom v Blanco at *18-19, citing Harris v. City of New York, No. 15-cv-8456 (CM),

2017 U.S. Dist. LEXIS 206923, 2017 WL 6501912, at *3 (S.D.N.Y. Dec. 15, 2017);
see Anderson v. Branen, 17 F.3d 552, 557 (2d Cir. 1994).
9
   Id.
10
   Marom v Blanco at *19, quoting Garnett v. Undercover Officer C0039, 838 F.3d
265, 279 (2d Cir. 2016) (citing Ricciuti v. N.Y.C. Transit Auth., 124 F.3d 123, 130 (2d
Cir. 1997)).


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        “‘[A] trial is not a prerequisite to [the] claim."11 Rather, “‘the issue is . . . whether,

had plaintiff proceeded to trial, the fact of the falsification would have rendered the trial

unfair to [the plaintiff].’” 12 This is because “[t]he rationale for” the claim is “that ‘false

evidence works an unacceptable corruption of the truth-seeking function of the trial

process.’”13

       Simply put, "[n]o arrest, no matter how lawful or objectively reasonable, gives an

arresting officer or his fellow officers license to deliberately manufacture false evidence

against an arrestee.”14

       i.      “Investigating Official”

       As to the first element, I hereby instruct you that each individual defendant was an

“investigating official” within the meaning of this claim as a matter of law.

       ii.     “Fabricated Information”

       As to the second element, police fabrication of material evidence “‘violates the right

to a fair jury trial whether the officer fabricates tangible evidence or fabricates 'the officer's

own account of his or her observations of alleged criminal activity.'"15




11
  Marom v. Blanco, at *20, quoting Collins v. City of New York, 295 F. Supp. 3d 350, 371
(S.D.N.Y. 2018).
12 Marom v. Blanco at *20-21, quoting Salazar v. City of New York, No. 15-cv-1989
(KBF), 2016 U.S. Dist. LEXIS 89774, 2016 WL 3748499, at *4 (S.D.N.Y. July 11,
2016).
13
   Marom v. Blanco at *20, quoting Ricciuti, 124 F.3d at 130 (internal quotation marks
omitted).
14
   Garnett v Undercover Officer C0039, No. 1:13-cv-7083 (GHW), 2015 US Dist
LEXIS 45232, at *2 (SDNY Apr. 6, 2015), quoting Ricciuti, 124 F.3d at 130.
15 Marom v. Blanco at *20, quoting Collins, 295 F. Supp. 3d at 371 (citing Garnett,

838 F.3d at 274).


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       Ms. Rocek claims that the defendants fabricated material evidence in the form of

various accounts of defendant Boyle’s alleged observations of and interactions with Ms.

Rocek prior to and during her arrest.

       iii.    “Material” Evidence - “Likely to Influence a Jury's Verdict”

       As to the third element, the fabricated evidence must be “material” – that is, ‘likely

to influence a jury's verdict’…if it arrived at a jury.”16

       The standard does not “require that the allegedly false information actually be

admitted at trial” or even that it “be ‘admissible’ in the abstract.”17

       Ms. Rocek claims that there could have been no prosecution at all absent defendant

Boyle’s allegedly false statements to prosecutors, which were memorialized in the sworn

criminal complaint supporting the prosecution, about her alleged observations of Ms.

Rocek; that the prosecutors could not have, or would not have, gone forward with the

charges, or certain charges, absent the allegedly false statements; and that defendant

Boyle’s statements to a jury about her alleged observations would have been likely to

influence a jury, if they had arrived at a jury.

               a. Elements of the Offenses The Prosecutor Charged Ms. Rocek With

                   Committing

       In order to initiate a prosecution, under New York law, the prosecutor was required

to file a written charging document or documents, sworn to under penalties of perjury,

containing non-hearsay, factual statements of an evidentiary nature, based on direct




16 Marom v. Blanco at *20, quoting Garnett, 838 F.3d at 280 and at *20, 22, quoting
Case v. City of New York, 233 F. Supp. 3d 372, 388 (S.D.N.Y. 2017) (citation
omitted).
17 Marom v City of NY, 2016 US Dist LEXIS 140720, at *6; see also, e.g., Garnett v

Undercover Officer C0039, 2015 US Dist LEXIS 45232, at *18-27.


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observation or information provided by an identified third-party, which, if true, would

make out each element of each charged offense.18

       The violation of Disorderly Conduct under New York Penal Law § 240.20(6) has

four elements: that “(1) [the individual] congregated with other persons in a public place;

(2) was given a lawful order of the police to disperse; (3) refused to comply with that order;

and (4) acted 'with intent to cause public inconvenience, annoyance or alarm' or with

recklessness to the 'risk thereof.'"19

       The violation of Trespass in the Third Degree in violation of New York Penal Law

§ 140.05 has two elements: the individual (1) knowingly (2) entered or remained

unlawfully in or upon any real property.20 A person who, regardless of their intent, enters in

or upon premises which are at the time open to the public does so with license and privilege

unless he or she defies a lawful order not to enter or remain, personally communicated to

them by the owner of such premises or other authorized person.21

       “The crime of Resisting Arrest” in violation of New York Penal Law § 205.30 “has

two elements: ‘(1) the person charged must have intentionally attempted to prevent the

arrest of [herself] or someone else, and (2) the arrest [she] attempted to prevent must itself

have been supported by a warrant or by probable cause.’”22


18 See New York State Criminal Procedure Law (“CPL”) §§ 100.10(4); 100.15(3);
100.20; 100.30; 100.40(1)(c); see also, e.g., People v Garcia, 21 Misc 3d 732 (Sup
Ct, Bronx County 2008).
19 Gogol v City of NY, 2017 US Dist LEXIS 127187, at *18 (SDNY Aug. 10, 2017)

(internal citations omitted); see also New York Penal Law (“PL”) § 240.20(6).
20 See PL §140.05; New York Criminal Jury Instructions 2d (“NY CJI2d”) regarding

PL § 140.05.
21 See CJI2d (NY) regarding PL § 140.05, citing PL §140.00(5).
22
   Marom v. Blanco at *27-28, quoting Polanco v. City of New York, No. 14-cv-7986
(NRB), 2018 U.S. Dist. LEXIS 54758, 2018 WL 1804702, at *5 (S.D.N.Y. Mar. 28,
2018) (citing Curry v. City of Syracuse, 316 F.3d 324, 336 (2d Cir. 2003)). See also
New York Penal Law § 205.30.


                                               18
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       “The elements for the crime of Obstruction of Governmental Administration” in the

Second Degree in violation of New York Penal Law § 195.05 are intentionally “‘(1)

prevent[ing] or attempt[ing] to prevent (2) a public servant from performing (3) an official

function (4) by means of intimidation, force or interference.’” 23

       In the context of the charged crimes, intent means conscious objective or purpose.24

       iv.     “Forwarded to Prosecutors”

       As to the fourth element, the violation occurs “‘when the officer forwards the false

information to the prosecutors.’”25

       Ms. Rocek claims that the defendants forwarded false information to prosecutors in

the form of defendant Boyle’s oral statements to prosecutors, written police reports, and

sworn criminal court complaint.

       v.      “Deprivation of life, liberty, or property as a result”

       As to the fifth element, the fabricated information must “cause the plaintiff to suffer

a ‘deprivation of liberty’ [or property] that is not ‘too remote a consequence’ of the act of

creating the false information."26

       In this case, plaintiff must establish "the fabricated evidence cause[d] some further

deprivation" of liberty or property beyond the arrest itself.27




23
   Marom v. Blanco at *28, quoting Polanco, 2018 U.S. Dist. LEXIS 54758, [WL] at
*4 (citing Cameron v. City of New York, 598 F.3d 50, 68 (2d Cir. 2010)); see also PL
§ 195.05.
24 See NY CJI2d §§ 140.05; 205.30.
25
   Marom v. Blanco at *20, quoting Collins, 295 F. Supp. 3d at 371 (citation omitted)).
26
   Marom v. Blanco at *21, quoting Garnett, 838 F.3d at 279; Collins, 295 F. Supp. 3d
at 371 (citation omitted).
27 Marom v. Blanco at *30.




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       “‘[S]pending a number of hours in jail . . . constitute[s] a sufficient deprivation of

liberty, as [does] the obligation to attend numerous follow-up court appearances.’”28

       So does being released on one’s own recognizance (or “ROR”) under New York

Criminal Procedure Law §510.40 at arraignment, which subjects a person to the orders and

processes of the Court at all times after arraignment and until a case is completed.29

       The “further deprivation” can also include collateral consequences such as damage

to reputation, being required to “‘mount a defense’” to criminal charges, and generally

being placed “in the power of a court of law.30

       “Importantly, ‘[t]he fabricated evidence need not be the only cause of the

deprivation of liberty.’”31




28
   Marom v. Blanco at *21, quoting Collins, 295 F. Supp. 3d at 371 (citation omitted).
29 CPL § 510.40(2) provides that “Upon ordering that a principal be released on his
own recognizance, the court must direct him to appear in the criminal action or
proceeding involved whenever his attendance may be required and to render himself at
all times amenable to the orders and processes of the court.” See Marom v Blanco at
*28-29 (“A reasonable jury could conclude that Rocek suffered a deprivation of
liberty when she was arrested, detained for twenty-two hours, formally charged,
released on her own recognizance subject to NYCPL § 510.40, and required to appear
in court five times) (citing cases, including “Gogol v. City of New York, No. 15-cv-
5703 (ER), 2017 U.S. Dist. LEXIS 127187, 2017 WL 3449352, at *11 (S.D.N.Y. Aug.
10, 2017) (‘ [A]an arrestee is . . . deprived of liberty when subject to Section 510.40
restrictions’); [and] Perez v. Duran, 962 F. Supp. 2d 533, 538, 542-44 (S.D.N.Y.
2013) (deprivation of liberty where plaintiff was released subject to NYCPL § 510.40
and required to appear in court on two occasions)”; see also, e.g., Swartz v. Insogna,
704 F.3d 105 (2nd Cir. 2013); Rohman v. New York City Trans. Auth., 215 F.3d 208
(2d Cir. 2000); and Murphy v. Lynn, 118 F.3d 938 (2d Cir. 1997).
30
   Garnett, 838 F.3d at 279 (internal quotation omitted).
31
   Marom v. Blanco at *21, quoting Collins v. City of New York, No. 14-cv-08815
(AJN), 2019 U.S. Dist. LEXIS 54130, 2019 WL 1413999, at *2 (S.D.N.Y. Mar. 29,
2019) (citing Garnett, 838 F.3d at 277).


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       The five elements I have just listed are not merely factors to be considered in

making your decision but rather requirements that must be met in order for you to find in

favor of Ms. Rocek.

       If you find by a preponderance of the evidence that any defendant fabricated

material information, forwarded it to prosecutors, and that plaintiff suffered a deprivation

of life, liberty, or property as a result, or failed to intervene to prevent that from happening

despite having had knowledge that it was happening or would happen and a reasonable

opportunity to do so, you must find against that defendant.


       Damages

       If you find that Ms. Rocek has met her burden of proof with respect to a claim-

that is, that Ms. Rocek has proven one or more of her claims against a defendant by a

preponderance of the evidence--then you must consider the issue of damages. The fact

that I am giving you instructions on damages, however, should not be considered as an

indication of any view of mine on what your verdict should be. Rather, instructions on

damages are given only so that you will have them in the event that you should find in

favor of the plaintiff on any question of liability.

       If your verdict is in favor of the plaintiff, whether or not income taxes will be paid

on any portion of the award is not part of your consideration. You must not add to the

award, nor subtract from the award, on account of income taxes. Additionally, in the event

that you find that damages should be awarded, you should not take into consideration

attorney's fees or costs, which will be decided by the Court.

       I have two more cautionary instructions before I define the types of damages you

may award if you find that the plaintiff has proved liability according to the standards I

have enumerated.




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       First, you should not award compensatory damages more than once for the same

injury. For example, if the plaintiff were to prevail on two claims and establish an injury

worth a certain amount, you could not award her that certain amount of compensatory

damages on each claim-she is entitled only to be made whole again, not to recover more

than she lost. Of course, if different injuries are attributed to the separate claims, then you

must compensate her fully for all of the injuries.

       There are two types of damages that you may consider: compensatory damages and

punitive damages. I will discuss each in turn.


   A. Compensatory Damages

       If you return a verdict for Ms. Rocek, then you must first award her such sum of

money as you believe will fairly and justly compensate her for any injury you believe she

actually sustained as a direct consequence of defendants’ conduct. Compensatory damages

seek to make a plaintiff whole-that is, to compensate him or her for the damage suffered.

Compensatory damages are not only for expenses that a plaintiff may have borne. A

prevailing plaintiff is entitled to compensatory damages for loss of and restraints on liberty,

reputation, emotional and mental anguish, and shock and discomfort that he or she has

suffered because of the defendants’ conduct.

        The law does not require a plaintiff to prove the amount of her losses with

mathematical precision. I cannot give you a yardstick by which to measure the dollar

amount of pain or injury. You heard Ms. Rocek’s testimony and the testimony of the other

witnesses, and you have seen the documentary evidence concerning damages. If you award

compensatory damages, you will have to determine, based on your common sense and

experience, the amount of money that will fairly and reasonably make plaintiff whole or

compensate her for the injuries that she sustained, and may continue to sustain, as a




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consequence of any acts that violated her rights. You are to use your sound discretion in

fixing an award of compensatory damages, drawing all reasonable inferences where you

deem appropriate from the facts and circumstances in evidence. In sum, your award of

compensatory damages should reasonably compensate plaintiff for such injury and damage

as you find that plaintiff has sustained or is reasonably likely to sustain in the future.


    B. Punitive Damages

                       If you find that Ms. Rocek’s rights have been violated, then you have

the discretion to award punitive damages to punish any defendant or the defendants for

extreme or outrageous conduct, or to deter or prevent any defendant or the defendants and

others like them from committing such conduct in the future. You may award punitive

damages as a separate award in addition to compensatory damages.

               You may award the plaintiff punitive damages only if you find that the acts

or omissions of the defendant were done maliciously or wantonly. An act or failure to act is

maliciously done if it is prompted by ill-will or spite towards the injured person. An act or

failure to act is wanton if it is done with a reckless or callous disregard of, or indifference

to, the rights of the injured person. The plaintiff has the burden of proving, by a

preponderance of the evidence, that the defendant acted maliciously or wantonly with

regard to the plaintiff’s rights.

       If you find by a preponderance of the evidence that a defendant acted with

malicious intent to violate the plaintiffs federal rights, or if you find that a defendant acted

with a callous or reckless disregard of the plaintiff’s rights, then you may award punitive

damages. An award of punitive damages, however, is discretionary; that is, if you find that

the legal requirements for punitive damages are satisfied, then you may decide to award

punitive damages, or you may decide not to award them.




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          In making this decision, you should consider the underlying purpose of punitive

damages. Punitive damages are awarded in the jury's discretion to punish a defendant for

outrageous conduct or to deter the defendant and others from performing similar conduct in

the future. Thus, in deciding whether to award punitive damages, you should consider

whether the defendant may be adequately punished by an award of compensatory damages

only or whether the conduct is so outrageous that compensatory damages are inadequate to

punish the wrongful conduct. You should also consider whether compensatory damages

standing alone are likely to deter or prevent the defendant from again performing any

wrongful acts he may have performed, or whether punitive damages are necessary to

provide deterrence. Finally, you should consider whether punitive damages are likely to

deter or prevent other persons from performing wrongful acts similar to those the defendant

may have committed.

          If you decide to award punitive damages, these considerations should guide you in

determining the appropriate sum of money to be awarded as punitive damages. That is, in

fixing the sum to be awarded, you should consider the degree to which a defendant should

be punished for their wrongful conduct and the degree to which an award of one sum or

another will deter the defendants or others from committing such wrongful acts in the

future.


                                   CONCLUDING CHARGES

          Right to Request Exhibits or Have Testimony Read

          You are about to go into the jury room to begin your deliberations. I will allow the

exhibits actually received into evidence to go with you into the jury room.

          If you want any of the testimony read, please send out a note specifying what you

want to hear, and we will bring you back to the Courtroom to read it back for you. Please




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be as specific as you possibly can in requesting exhibits or portions of the testimony. If you

want any further explanation of the law as I have explained it to you, you may also request

that.

         Your requests for testimony-in fact, any communications with the Court-should be

made to me in writing, signed by your foreperson, and given to the Deputy Marshal. In any

event, do not tell me or anyone else how the jury stands on any issue-in other words, what

the vote is-until after a unanimous verdict is reached.


    A. Notes

         Some of you have taken notes periodically throughout this trial. I want to emphasize

to you, as you are about to begin your deliberations, that notes are simply an aid to

memory. Notes that any of you may have made may not be given any greater weight or

influence in determination of the case than the recollections or impressions of other jurors,

whether from notes or memory, with respect to the evidence presented or what conclusions,

if any, should be drawn from such evidence. Any difference between a juror's recollection

and another juror's notes should be settled by asking to have the court reporter read back

the transcript, for it is the court record rather than any juror's notes upon which the jury

must base its determination of the facts and its verdict.


                 1. Verdict Form

         I have prepared a verdict form for you to use in recording your decisions.

Remember, each verdict must reflect the conscientious judgment of each juror. You

should answer every question except where the verdict form indicates otherwise. You

should also proceed through the questions in the order in which they are listed.

         I will now ask the Clerk to hand out the verdict form in this case.




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       When you answer the questions on the verdict form, you are to answer them

based on the facts that you find pursuant to the instructions on the law that I have given

you. You will note that on the verdict sheet, there are 15 questions. If your answer to

Question 1 is "yes," then you should proceed to answer Questions 2 and 3. If your

answer to that question is "no," then you should not answer Questions 2 and 3. In

either case, you must answer Question 4. If your answer to Question 4 is "yes," then

you should proceed to answer Questions 5 and 6. If your answer to that question is

"no," then you should not answer Questions 5 and 6. In either case, you must answer

Question 7. If your answer to Question 7 is "yes," then you should proceed to answer

Questions 8 and 9. If your answer to that question is "no," then you should not answer

Questions 8 and 9. In either case, you must answer Question 10. If your answer to

Question 10 is "yes," then you should proceed to answer Questions 11 and 12. If your

answer to that question is "no," then you should not answer Questions 11 and 12. In

either case, you must answer Question 13. If your answer to Question 131 is "yes,"

then you should proceed to answer Questions 14 and 15. If your answer to that

question is "no," then your foreperson should sign, date, and return the verdict in an

envelope to the Deputy Marshal.

       On all questions, the plaintiff bears the burden of proving each element by the

preponderance of the evidence, a term I have already defined.


       Duty to Deliberate/Unanimous Verdict

       In a few moments, you will retire to decide the case. It is your duty as jurors to

consult with one another and to deliberate with a view to reaching an agreement. Each of

you must decide the case for himself or herself, but you should do so only after a

consideration of the case with your fellow jurors, and you should not hesitate to change an




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opinion when convinced that it is erroneous. Your verdict must be unanimous, but you are

not bound to surrender your honest convictions concerning the effect or weight of the

evidence for the mere purpose of returning a verdict solely because of the opinion of other

jurors. Discuss and weigh your respective opinions dispassionately, without regard to

sympathy, without regard to prejudice or favor for either party, and adopt the conclusion

that in your good conscience appears to be in accordance with the truth.

       Please remember, you are not partisans. You are judges-judges of the facts-not

representatives of a constituency or cause. Your sole interest is to seek the truth from the

evidence in this case.

       Again, each of you must make your own decision about the proper outcome of this

case based on your consideration of the evidence and your discussions with your fellow

jurors. No juror should surrender his or her conscientious beliefs solely for the purpose of

returning a unanimous verdict. If, at any point, you find yourselves divided, do not inform

the Court of how the jurors are split. Once you have reached a verdict, do not announce

what that verdict is until I ask you to do so in the Courtroom.


       Duties of Foreperson

       Once you get into the jury room, you must select a foreperson who will be

responsible for signing all communications to the Court on behalf of the jury and for

handing them to the Deputy Marshal during your deliberations. This should not be

understood to mean that an individual cannot send the Court a note should the foreperson

refuse to do so.


       Text

       As I previously stated, I will give you the typed text of these instructions for your

use in the jury room. It is possible that there is a slight variance between the words I have



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spoken and the typed text that I will give you. The words I have spoken control over the

typed text.


       Return of Verdict

       After you have reached a verdict, your foreperson will fill in one original of the

verdict form, sign and date it, and advise the Deputy Marshal outside your door that you

are ready to return to the courtroom.

       I will stress that each of you must be in agreement with the verdict that is

announced in Court. Once your verdict is announced by your foreperson in open court and

officially recorded, it cannot ordinarily be revoked.

       Finally, let me state that your oath sums up your duty and that is: without fear or

favor to anyone, you will well and truly try the issues, based solely upon the evidence and

this Court's instruction as to the law.


                                          CONCLUSION

       Members of the jury, that concludes my instructions to you. I will ask you to remain

seated while I confer with the attorneys to see if there are any additional instructions that

they would like to have me give to you or anything I may not have covered in my previous

statement.

       In this regard, I ask you not to discuss the case while seated in the box because the

case has not yet been formally submitted to you.

                                        *****
        Members of the jury, you may now retire to deliberate.




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